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                                              U. S. DISTRICT COURT
                                             Southern District of Ga.
             IN THE UNITED STATES DISTRICT COURT Filed in Office
                   SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA                               Deputy Clerk

V.                                          CASE NO. CR414-005

CARL EVAN SWAIN,

     Defendant.


                            ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 248), to which objections have been

filed (Doc. 260). After a careful de novo review of the

record, the Court finds Defendant's objections to be

without merit. Accordingly, the report and recommendation

is ADOPTED as the Court's opinion in this case and

Defendant's Motion to Suppress, as amended (Doc. 215; Doc.

223) is DENIED.

     In his objections, Defendant argues that the FBI

agent's response to Defendant's question concerning

appointment of legal counsel was misleading. (Doc. 260 at

1.) After reviewing the record, however, this Court concurs

with the Magistrate Judge that the FBI agent's response

"truthfully and accurately answered [Defendant's] 'lawyer

question," explaining that the Court would address his

request, outlining the procedures, and informing him that
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the delay would prevent the interview from continuing.

(Doc. 248 at 5.) Contrary to Defendant's objections, this

response did not violate the requirement of Miranda v.

Arizona, 384 U.S 436, 444 (1966)

     Additionally, the Report and Recommendation denies

Defendant's request to exclude certain statements for

evidentiary reasons. (Doc. 248 at 7-8.) The Court agrees

with the Magistrate Judge that these statements are not,

per Se, excludable as being obtained in violation of

Miranda. To the extent Defendant believes the statement are

inadmissible under the Federal Rules of Evidence, he

remains free to raise those objections contemporaneously

with the introduction of the evidence at trial.

     SO ORDERED this /8day of March 2015.



                                  WILLIAM T. MOORE,   .
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




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